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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 NBC 7 SAN DIEGO, et al.,

                Plaintiffs,

        v.
                                                        Civil Action No. 19-1146 (RBW)
 DEPARTMENT OF HOMELAND
 SECURITY, et al.,

                Defendants.


                       THIRTY-SEVENTH JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order of August 29, 2023, the Parties hereby submit this

status report advising the Court of the status of this Freedom of Information Act (“FOIA”) case.

The Parties state as follows:

       1.      This case concerns five FOIA requests submitted by Plaintiffs NBC 7 San Diego,

Tom Jones, and the Reporters Committee for Freedom of the Press (“RCFP”) (collectively,

“Plaintiffs”), seeking records from the U.S. Department of Homeland Security (“DHS”) and its

component-agencies, Immigration and Customs Enforcement (“ICE”), U.S. Customs and Border

Protection (“CBP”), and U.S. Citizenship and Immigration Services (“USCIS”) (collectively,

“Defendants” and, together with Plaintiffs, “Parties”). See Compl., ECF No. 1, at ¶¶ 16–17, 23–

28. RCFP’s FOIA requests each consist of 12 subparts. See, e.g., ECF No. 1-9 at 5–6.

       2.      On December 20, 2022, the Court issued its decision on the Parties’ partial

summary judgment briefing. ECF Nos. 58 & 59. The Order issued in connection with the Court’s

decision is found at ECF No. 59 and is described in the Parties’ 30th and 32nd status reports, ECF

Nos. 60, 62.
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        3.      Today the Defendants provide the following updates:

CBP

        4.      As discussed in prior status reports, Plaintiffs and CBP have been negotiating

CBP’s response to Item 12 of RCFP’s request. Item 12, prior to narrowing that followed a

sampling process, see infra, sought:

        All emails, memoranda, or other forms of written or electronic communication,
        from January 1, 2017, to present, that include “media” or “reporters” or
        “journalist” and any of the following terms:
               a. “screening”
               b. “scrutiny”
               c. “searches”
               d. “secondary”
               e. “passport”

        5.      As discussed in prior status reports, RCFP advised CBP, through counsel, that it

was voluntarily narrowing the scope of Item 12 of RCFP’s FOIA request to CBP to seek records

containing (“reporters” OR “journalist”), within 6-8 words of (“screening” OR “passport”). CBP

conducted a series of keyword searches which returned approximately 9,826 records amounting to

approximately 977,935 pages.

        6.      Thus, on or about September 20, 2023, RCFP proposed for CBP to produce a

sample of records responsive to Item 12 by producing at least 300 pages for each of the following

years: 2017, 2018, and 2019—a sampling process CBP has previously employed in an effort to

facilitate narrowing efforts among the parties, see, e.g., 31st JSR, ¶ 5. CBP is considering RCFP’s

proposal.

        7.      The Parties will continue to meet and confer regarding Item 12 of RCFP’s request.

USCIS

        8.      USCIS completed its final production on July 14, 2023.

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DHS

       9.     DHS reports that it will continue to produce the records it has identified as

responsive and nonexempt as they are returned; the parties are presently meeting and conferring

about the records located by DHS.

ICE

       10.    ICE has completed its production for this matter.

                                              *       *   *

       11.    In light of the above, the Parties respectfully propose that they file another status

report by December 11, 2023, further advising the Court on the Parties’ progress.



Dated: October 12, 2023                     Respectfully Submitted,

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